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                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION


      Baby Doe et al.,

                    Plaintiffs,
                                                            Civil Action No. 3: 22-cv-49
      v.

      JOSHUA MAST et al.,

                    Defendants,
      and

      UNITED STATES SECRETARY OF STATE
      ANTONY BLINKEN et al.,

                   Nominal Defendants.


                                     PROPOSED ORDER

            Upon review of the Unopposed Motion to Extend Defendants’ Deadline to Respond

     to Amended Complaint submitted by nominal defendants United States Secretary of State

     Antony Blinken and United States Secretary of Defense General Lloyd Austin (“Federal

     Defendants”), and for good cause shown, it is

            ORDERED that Federal Defendants’ Motion is GRANTED; it is further

            ORDERED that Federal Defendants’ deadline to respond to Plaintiffs’ Amended

     Complaint is hereby extended up to and including November 23, 2022.

            SO ORDERED.

            Dated: ___________                               ___________________
                                                             Judge Norman K. Moon
